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                                                                         FILED: April 29, 2024


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT

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                                                No. 22-1721
                                         (1:19-cv-00272-LCB-LPA)
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        MAXWELL KADEL; JASON FLECK; CONNOR THONEN-FLECK; JULIA
        MCKEOWN; MICHAEL D. BUNTING, JR.; C.B., by his next friends and
        parents; SAM SILVAINE; DANA CARAWAY

                       Plaintiffs - Appellees

        v.

        DALE FOLWELL, in his official capacity as State Treasurer of North Carolina;
        EXECUTIVE ADMINISTRATOR OF THE NORTH CAROLINA STATE
        HEALTH PLAN FOR TEACHERS AND STATE EMPLOYEES

                       Defendants - Appellants

         and

        NORTH CAROLINA STATE HEALTH PLAN FOR TEACHERS AND STATE
        EMPLOYEES; STATE OF NORTH CAROLINA DEPARTMENT OF PUBLIC
        SAFETY

                       Defendants

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        CONSTITUTIONAL LAW PROFESSORS; COMMONWEALTH OF
        KENTUCKY; COMMONWEALTH OF VIRGINIA; STATE OF ALABAMA;
        STATE OF ALASKA; STATE OF ARKANSAS; STATE OF FLORIDA;
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        STATE OF GEORGIA; STATE OF INDIANA; STATE OF IOWA; STATE OF
        KANSAS; STATE OF LOUISIANA; STATE OF MISSISSIPPI; STATE OF
        MISSOURI; STATE OF MONTANA; STATE OF NEBRASKA; STATE OF
        NORTH DAKOTA; STATE OF OHIO; STATE OF OKLAHOMA; STATE OF
        SOUTH CAROLINA; STATE OF TEXAS; STATE OF UTAH

                      Amicus Supporting Appellants

        NEW YORK; CALIFORNIA; COLORADO; DELAWARE; HAWAII;
        ILLINOIS; MAINE; MARYLAND; MASSACHUSETTS; MINNESOTA;
        NEVADA; NEW JERSEY; NEW MEXICO; OREGON; RHODE ISLAND;
        VERMONT; WASHINGTON; DISTRICT OF COLUMBIA; AMERICAN
        MEDICAL ASSOCIATION; AMERICAN COLLEGE OF OBSTETRICIANS
        AND GYNECOLOGISTS; AMERICAN PSYCHIATRIC ASSOCIATION;
        AMERICAN ACADEMY OF PEDIATRICS; ENDOCRINE SOCIETY; NORTH
        AMERICAN SOCIETY FOR PEDIATRIC AND ADOLESCENT
        GYNECOLOGY; NATIONAL ASSOCIATION OF NURSE PRACTITIONERS
        IN WOMEN'S HEALTH; SOCIETY OF OB/GYN HOSPITALISTS

                      Amici Supporting Appellees

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                                            JUDGMENT
                                          ___________________

              In accordance with the decision of this court, the judgment of the district

        court is affirmed.

              This judgment shall take effect upon issuance of this court's mandate in

        accordance with Fed. R. App. P. 41.

                                                 /s/ NWAMAKA ANOWI, CLERK
